Case 1:98-cV-01263-.]DB-STA Document 153 Filed 05/06/05 Page 1 of 3 Page|D 113
IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE AT JACKSON

JAMIE HAMILTON, AND WIFE,
BONNIE HAMILTON,

Plaintiffs,

v. No. 1-97-1261-B
GARY MYERS, AS EXECUTIVE
D[RECTOR OF THE TENNESSEE
WILDLIFE RESOURCES
AGENCY, et al.,

Defendants.

W\./\-_/\_/\_/\_/\_/\_/\-,¢'\-J\-J\-_/\-,/

GARY ARNETT, SHELLY ARNETT,
and JOHN PAUL ARNETT, by next
friend, GARY ARNETT,

 

Plaintiffs,

 
    

v. No. l-W-lZGB-B
GARY MYERS, AS EXECUTIVE
DIRECTOR OF THE TENNESSEE
WILDLIFE RESOURCES
AGENCY, et al.,

Defendants.

\.-/\_/\._J\._/\-_/\_J\._/\_/\_/\_/`_/\_/\_/\_/

('EHLEQSEH) ORDER GRANTING PLA]NTIFFS’ MOTION FOR PERMISSION TO
FILE LATE-FILED BRIEF

Before the Court is Plaintiffs’ Motion for Perrnission to File a Late-Filed Brief.
Defendants do not oppose the motion.
For good cause shoWn, the Motion is GRAN ED.

IT ls SO ORDERED this é day of

  

 

 

. D iel Breen, United StSbes District Judge

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Case 1:98-cV-01263-.]DB-STA Document 153 Filed 05/06/05 Page 2 of 3 Page|D 114
CERTIFICATE OF SERVICE

This 15 to certify that a true and correct copy ofth foregoing has been served upon the

following, via U. S. Mail, postage prepaid, on this thdp€b day of ,.2005

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This notice confirms a copy of the document docketed as number 153 in
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Honorable J. Breen
US DISTRICT COURT

